
The People of the State of New York, Respondent, 
againstVanessa Monteleone, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John Cataldo, J.H.O.), rendered September 3, 2014, convicting her, upon a plea of guilty, of public consumption of alcohol in violation of Administrative Code of City of NY § 10-125, and imposing sentence.




Per Curiam.
Judgment of conviction (John Cataldo, J.H.O.), rendered September 3, 2014, reversed, on the law, accusatory instrument dismissed, and fine, if paid, remitted. 
As the People concede, defendant's conviction must be vacated since the plea record lacks the requisite "affirmative showing" that defendant understood and waived her Boykin rights (see Boykin v Alabama, 395 US 238, 242 [1969]; People v Tyrell, 22 NY3d 359, 365 [2013]). The People also agree that dismissal of the accusatory instrument is the appropriate corrective action in this particular case (cf. People v Conceicao, 26 NY3d 375, n 1 [2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: September 21, 2016










